Case 2:20-cr-00155-VAP Document 169 Filed 09/06/22 Page 1 of 1 Page ID #:1358




                      UNITED STATES COURT OF APPEALS                       FILED
                             FOR THE NINTH CIRCUIT                          SEP 6 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                         Nos. 21-50048
                                                      21-50084
                  Plaintiff-Appellee,
                                                  D.C. Nos. 2:19-cr-00642-VAP-1
    v.                                                      2:20-cr-00155-VAP-1
                                                  Central District of California,
IMAAD SHAH ZUBERI,                                Los Angeles

                                                  ORDER
                  Defendant-Appellant.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

         Appellant’s unopposed motion (Docket Entry No. 52)1 to file under seal his

motion for an extension of time to file the opening brief is granted.

         The Clerk will file under seal appellant’s motion to seal (Docket Entry No.

52-1), the motion for an extension of time (Docket Entry No. 52-2), and the

supporting exhibits (Docket Entry Nos. 52-3, 52-4 and 52-5).

         Appellant’s unopposed motion (Docket Entry No. 52) for an extension of

time to file the opening brief is granted. The briefing schedule is reset as follows:

The consolidated opening brief is due September 23, 2022; the consolidated

answering brief is due October 24, 2022; and the optional consolidated reply brief

is due within 21 days after service of the consolidated answering brief.



1
    The docket entry numbers in this order refer to Appeal No. 21-50048.
